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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


                                )
 In re:                         )                     Chapter 11
                                )
 TOUGH MUDDER INCORPORATED; and )                     Case No. 20-10036 (CSS)
 TOUGH MUDDER EVENT PRODUCTION )                      Case No. 20-10037 (CSS)
 INCORPORATED,                  )
                                )
               Debtors.         )
                                )

                                OMNIBUS HEARING ORDER

              IT IS HEREBY ORDERED, that the following omnibus hearing has been

scheduled in the above-referenced cases:

                  DATE                                   TIME

            February 25, 2020               1:00 p.m. (Eastern Standard Time)




        Dated: February 12th, 2020
        Wilmington, Delaware               CHRISTOPHER S. SONTCHI
                                           UNITED STATES BANKRUPTCY JUDGE
